Application for stay submitted to THE CHIEF JUSTICE and by him referred to the Court granted. The Environmental Protection Agency's "*999Carbon Pollution Emission Guidelines for Existing Stationary Sources: Electric Utility Generating Units," 80 Fed. Reg. 64,662 (October 23, 2015), is stayed pending disposition of the applicants' petitions for review in the United States Court of Appeals for the District of Columbia Circuit and disposition of the applicants' petition for writ of certiorari, if such writ is sought. If writ of certiorari is sought and the Court denies the petition, this order shall terminate automatically. If the Court grants the petition for writ of certiorari, this order shall terminate when the Court enters its judgment.Justice GINSBURG, Justice BREYER, Justice SOTOMAYOR, and Justice KAGAN would deny the application.